Case 8:19-cv-00100-AG-JDE Document 1 Filed 01/21/19 Page 1 of 13 Page ID #:1



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6
7
8                             UNITED STATES DISTRICT COURT
9                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
10                                 SOUTHERN DIVISION
11
12   SHON LINDSAY, an individual                   Case No.

13               Plaintiff,                        COMPLAINT FOR DAMAGES FOR
                                                   VIOLATION OF THE FAIR DEBT
14         v.                                      COLLECTION PRACTICES ACT
                                                   (“FDCPA”) 15 U.S.C. §§ 1692 et seq.
15   WEST COAST CAPITAL GROUP,
     INC.; AND, DOES 1-10,
16   INCLUSIVE,                                    JURY TRIAL DEMANDED

17               Defendants.

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          PLAINTIFF SHON LINDSAY alleges as follows against defendant WEST
27
     COAST CAPITAL GROUP, INC., and DOES 1 through 10, inclusive:
28
                                               1      Lindsay v. West Coast Capital Group, et al
                                            COMPLAINT
Case 8:19-cv-00100-AG-JDE Document 1 Filed 01/21/19 Page 2 of 13 Page ID #:2



 1                                     I. JURISDICTION
 2           1.     Jurisdiction is conferred on this Court pursuant to 28 U.S.C. § 1331,
 3 and 28 U.S.C. § 1367 for any supplemental state claims.
 4           2.     This action arises out of Defendant’s violations of the Fair Debt
 5 Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”).
 6           3.     Because Defendant WEST COAST is a corporation within the State of
 7 California and conducts business in California personal jurisdiction is established over
 8 each and every Defendant.
 9                                         II. VENUE
10           4.     Venue is proper pursuant to 28 U.S.C. § 1391 for the following reasons:
11 (i) Plaintiff resides in the County of San Bernardino, State of California which is
12 within this judicial district; (ii) the conduct complained of herein occurred within this
13 judicial district; and, (iii) Defendant conducted a substantial amount of business within
14 this judicial district at all times relevant.
15                           III. PRELIMINARY STATEMENT
16           5.     This complaint is filed by the Plaintiff, Shon Lindsay (“Plaintiff”), an
17 individual consumer, and these proceedings instituted against WEST COAST
18 CAPITAL GROUP, INC. (“WEST COAST”), the owners of Plaintiff’s debt, which
19 is a mortgage loan on his primary residence, for damages for WEST COAST’S
20 violations of the Fair Debt Collection Practices Act, 15 U.S.C. §§ 1692-1692p
21 (hereinafter “FDCPA”).
22           6.     The United States Congress wrote and passed the FDCPA after it
23 found that there is abundant evidence of the use of abusive, deceptive, and unfair
24 debt collection practices by many debt collectors. Abusive debt collection practices
25 contribute to the number of personal bankruptcies, to marital instability, to the loss of
26 jobs, and to invasions of individual privacy. See 15 U.S.C. § 1692(a). The purpose
27 of the FDCPA is to eliminate abusive debt collection practices by debt collectors, to
28 insure that those debt collectors who refrain from using abusive debt collection
                                                   2   Lindsay v. West Coast Capital Group, et al
                                             COMPLAINT
Case 8:19-cv-00100-AG-JDE Document 1 Filed 01/21/19 Page 3 of 13 Page ID #:3



 1 practices are not competitively disadvantaged, and to promote consistent State action
 2 to protect consumers against debt collection abuses. See 15 U.S.C. § 1692(e).
 3           7.    Plaintiff brings this lawsuit to challenge the actions of WEST COAST
 4 with regards to attempts by WEST COAST to unlawfully and abusively collect a
 5 debt allegedly owed by Plaintiff by intentionally contacting Plaintiff on his cell
 6 phone several times for the purpose of collecting a debt after WEST COAST knew
 7 and acknowledged that it knew the fact that Plaintiff was represented by an
 8 attorney, in violation of the FDCPA, and this conduct caused Plaintiff damages.
 9                                      IV. PARTIES
10           8.    Shon Lindsay (“Plaintiff”) is a natural person who resides in San
11 Bernardino County in the state of California, at 2521 W. Buena Vista Drive,
12 Fontana, California, 92337, and is a “consumer” as that term is defined by 15 U.S.C.
13 § 1692a(3).
14           9.    Defendant WEST COAST CAPITAL GROUP, INC. (“WEST
15 COAST”) is a California corporation with its headquarters and principal place of
16 business located in Huntington Beach, California, and is a “debt collector” as that
17 term is defined by 15 U.S.C. § 1692a(6).
18           10.   Unless otherwise indicated, the use of WEST COAST’S name in this
19 Complaint includes all agents, employees, officers, members, directors, heirs,
20 successors, assigns, principals, trustees, sureties, subrogees, representatives, and
21 insurers of that Defendant named.
22           11.   The above named Defendant, and its subsidiaries and agents, are
23 collectively referred to as “Defendants.” The true names and capacities of the
24 Defendants sued herein as DOE DEFENDANTS 1 through 10, inclusive, are currently
25 unknown to Plaintiff, who therefore sues such Defendants by fictitious names. Each
26 of the Defendants designated herein as a DOE is legally responsible for the unlawful
27 acts alleged herein. Plaintiff will seek leave of Court to amend the Complaint to reflect
28 the true names and capacities of the DOE Defendants when such identities become
                                               3     Lindsay v. West Coast Capital Group, et al
                                           COMPLAINT
Case 8:19-cv-00100-AG-JDE Document 1 Filed 01/21/19 Page 4 of 13 Page ID #:4



 1 known.
 2          12.    Plaintiff is informed and believes that at all relevant times, each and
 3 every Defendant was acting as an agent and/or employee of each of the other
 4 Defendants and was acting within the course and scope of said agency and/or
 5 employment with the full knowledge and consent of each of the other Defendants.
 6 Plaintiff is informed and believes that each of the acts and/or omissions complained
 7 of herein was made known to, and ratified by, each of the other Defendants.
 8          13.    There is a unity of interest between Defendants, and each acts as the
 9 alter ego of the other.
10          14.    The defendants identified in paragraphs 5 through 9 above shall
11 hereinafter be collectively referred to as “Defendants.”
12                            V. FACTUAL ALLEGATIONS
13          15.    In December 2006, Plaintiff borrowed money, approximately $46,000
14 from non-party Countrywide Home Loans, Inc., secured by real property located in
15 the city of Rialto, in San Bernardino County, owned by the Plaintiff. The property is
16 Plaintiff’s primary residence, and the proceeds of the debt were used to for personal,
17 family and household purposes.
18          16.    Around 2009, Plaintiff stopped receiving any statements from
19 Countrywide Home Loans, Inc. for the debt. For this reason, Plaintiff fell behind on
20 his payments.
21          17.    In July 2018, Countrywide Home Loans, Inc. assigned the debt to
22 WEST COAST and WEST COAST became the new owner of Plaintiff’s debt.
23          18.    On or about July 26, 2018, WEST COAST sent a letter to Plaintiff
24 stating that effective August 10, 2018, all servicing of the debt will be transferred to
25 FCI Lender Services, Inc. (“FCI”).
26          19.    On or about August 15, 2018, FCI sent a “welcome letter” to Plaintiff,
27 stating that FCI is servicing the debt on behalf of WEST COAST, and that the amount
28 due was $77,937.97.
                                               4     Lindsay v. West Coast Capital Group, et al
                                           COMPLAINT
Case 8:19-cv-00100-AG-JDE Document 1 Filed 01/21/19 Page 5 of 13 Page ID #:5



 1           20.   On or about August 20, 2018, FCI sent a “Notice of Intent” letter to
 2 Plaintiff stating that the loan had been in default since October 1, 2009, and that the
 3 entire amount of the debt, including interest and other amounts due on the debt were
 4 due by September 20, 2018, or else FCI would invoke a power of sale of Plaintiff’s
 5 property.
 6           21.   On or about September 1, 2018, FCI sent a letter to Plaintiff demanding
 7 a loan payoff of the debt in the amount of $78,237.29, with $31,441.59 representing
 8 unpaid interest from September 1, 2009 to September 1, 2018.
 9           22.   Before obtaining representation, defendant Marcel Weise of WEST
10 COAST contacted Plaintiff’s wife on her cellular phone for the purpose of collecting
11 the debt, and Plaintiff’s wife and caused Plaintiff’s wife to feel harassed and
12 intimidated by the call.
13           23.   On or about September 18, 2018, Plaintiff hired an attorney, John R.
14 Habashy of Lexicon Law PC (“attorney”), to represent him in his finances with regards
15 to the debt.
16           24.   On or about September 21, 2018, Plaintiff’s attorney sent to FCI by
17 certified mail a Request for Information letter to obtain information regarding the debt
18 pursuant to the Real Estate Settlement and Procedures Act (“RESPA”) 12 C.F.R. §
19 1024.36, and informing FCI that Plaintiff was represented by attorney.
20           25.   On or about October 2, 2018, FCI sent a letter to Plaintiff’s attorney on
21 behalf of WESTCOAST acknowledging receipt of the Request for Information letter
22 from Plaintiff’s attorney, and requesting Plaintiff’s attorney to send an authorization
23 to release information.
24           26.   On or about October 4, 2018, Marcel Weise of WEST COAST sent an
25 email to Plaintiff’s attorney for the purpose of collecting Plaintiff’s debt, stating that
26 he was the owner of Plaintiff’s debt.
27           27.   On or about October 5, 2018, Marcel Weise of WEST COAST called
28 Plaintiff’s attorney’s office regarding the debt and left a message.
                                                5    Lindsay v. West Coast Capital Group, et al
                                            COMPLAINT
Case 8:19-cv-00100-AG-JDE Document 1 Filed 01/21/19 Page 6 of 13 Page ID #:6



 1          28.    In the month of October 2018, after Plaintiff’s attorney sent the letter
 2 regarding representing Plaintiff, defendant Marcel Weise of WEST COAST
 3 called Plaintiff on his cellular phone for the purpose of collecting on the debt;
 4 Plaintiff did not answer his phone, and felt harassed by the contact, that his privacy
 5 was invaded, and the contact gave Plaintiff anxiety and distress. Plaintiff immediately
 6 contacted his attorney, and told his attorney that Marcel Weise of WEST COAST had
 7 attempted to contact him on his cell phone.
 8          29.    On or about October 11, 2018, Marcel Weise of WEST COAST emailed
 9 Plaintiff’s attorney regarding Plaintiff’s debt, stating that he had not heard back from
10 Plaintiff’s attorney, and that a Notice of Default was filed on Plaintiff’s property on
11 October 3, 2018.
12          30.    On or about October 16, 2018, Marcel Weise of WEST COAST again
13 emailed Plaintiff’s attorney regarding Plaintiff’s debt.
14          31.    On or about October 23, 2018, Plaintiff’s attorney and Marcel Weise of
15 WEST COAST exchanged emails regarding Plaintiff’s debt and were in
16 communication.
17          32.    On or about October 24, 2018, Plaintiff’s attorney and Marcel Weise of
18 WEST COAST exchanged more emails regarding Plaintiff’s debt and were in
19 communication.
20          33.    On or about October 24, 2018, Plaintiff’s attorney sent a Request for
21 Information letter pursuant to RESPA 12 C.F.R. § 1024.36 by certified mail, again
22 informing FCI that Plaintiff was represented by attorney, with an authorization to
23 release information to Plaintiff’s attorney.
24          34.    On or about October 26, 2018, FCI sent an acknowledgment to
25 Plaintiff’s attorney that it received the Request for Information letter on October 24,
26 2018.
27          35.    Around the time of October 31, 2018, Defendant Marcel Weise of
28 WEST COAST called Plaintiff on his cellular phone for the purpose of collecting the
                                                  6   Lindsay v. West Coast Capital Group, et al
                                           COMPLAINT
Case 8:19-cv-00100-AG-JDE Document 1 Filed 01/21/19 Page 7 of 13 Page ID #:7



 1 debt. In that conversation Marcel Weise of WEST COAST stated that he knew that
 2 Plaintiff was represented by an attorney, had sent information to Plaintiff’s
 3 attorney, and tried to intimidate Plaintiff by telling Plaintiff to “work out a deal”
 4 with him directly or else he might lose his house. Plaintiff felt harassed by the phone
 5 call, that his privacy was invaded, and the phone call caused him anxiety and distress.
 6 Shortly thereafter, Plaintiff contacted his attorney and told his attorney about the phone
 7 call.
 8          36.     On or about October 31, 2018, FCI sent documents to Plaintiff’s
 9 attorney in response to the Request for Information letter.
10          37.     After October 31 and before November 23, 2018, defendant Marcel
11 Weise of WEST COAST again called Plaintiff on his cellular phone for the purpose
12 of collecting on the debt; Plaintiff did not answer his phone, and felt harassed by the
13 contact, that his privacy was invaded, and the contact caused Plaintiff anxiety and
14 distress.      Plaintiff immediately contacted his attorney, and told his attorney that
15 Marcel Weise of WEST COAST had again attempted to contact him on his cellular
16 phone.
17          38.     On or about November 23, 2018, Lexicon Law, PC sent a letter to
18 Marcel Weise of WEST COAST via U.S. mail stating that Plaintiff had retained the
19 legal services of Lexicon Law, PC and requested that Defendant cease and desist
20 from making any further contact with Plaintiff, and to direct all correspondence
21 and telephone calls to Plaintiff’s attorney and to Lexicon Law, PC.
22          39.     Despite receiving the November 23, 2018 cease and desist letter from
23 Lexicon Law PC and Plaintiff’s attorney, on or about November 26, 2018, Marcel
24 Weise of WEST COAST again contacted Plaintiff in an attempt to collect
25 Plaintiff’s debt, by calling Plaintiff on his cellular phone. In that phone call, Marcel
26 Weise of WEST COAST stated he knew Plaintiff was represented by an attorney,
27 that he had contacted the attorney, that he did not have a competent attorney, and
28 that Plaintiff’s attorney was not returning his calls, which was a misrepresentation
                                                7    Lindsay v. West Coast Capital Group, et al
                                            COMPLAINT
Case 8:19-cv-00100-AG-JDE Document 1 Filed 01/21/19 Page 8 of 13 Page ID #:8



 1 since Plaintiff’s attorney was and had been in communication by email and with
 2 Marcel Weise of WEST COAST. In that conversation, Marcel Weise of WEST
 3 COAST attempted to intimidate and scare Plaintiff into making an arrangement
 4 directly with him to pay the debt. WEST COAST’S phone call caused Plaintiff anxiety
 5 and distress from being harassed, and that his privacy was invaded.
 6           40.    Because of WEST COAST’S actions in continuing to contact Plaintiff
 7 for the purpose of collecting the debt after receiving the cease and desist letter,
 8 Plaintiff’s attorney sent Marcel Weise of WEST COAST a second cease and desist
 9 letter on or about November 28, 2018.
10                                      VI. STANDING
11           41.    Standing is proper under Article III of the Constitution of the United
12 States of America because Plaintiff’s claim state:
13             a. a valid injury in fact;
14             b. which is traceable to the conduct of Defendant;
15             c. and is likely to be redressed by a favorable judicial decision.
16             See, Spokeo, Inc. v. Robins, 578 U.S.___(2016) at 6, and Lujan v. Defenders
17             of Wildlife, 504 U.S. 555 at 560.
18           42.    In order to meet the standard laid out in Spokeo and Lujan, Plaintiff
19 must clearly allege facts demonstrating all three prongs above.
20             A.    The “Injury in Fact” Prong
21           43.    Plaintiff’s injury in fact must be both “concrete” and “particularized” in
22 order to satisfy the requirements of Article III of the Constitution, as laid out in Spokeo
23 (Id.).
24           44.    For an injury to be “concrete” it must be a de facto injury, meaning that
25 it actually exists. In the present case, Plaintiff was called on Plaintiff’s cellular phone
26 by WEST COAST, even after WEST COAST knew and had knowledge that Plaintiff
27 was represented by Counsel. Such calls are a nuisance, an invasion of privacy, were
28 harassing and distressing, and an expense to Plaintiff. Hartman Meridian Financial
                                                   8   Lindsay v. West Coast Capital Group, et al
                                            COMPLAINT
Case 8:19-cv-00100-AG-JDE Document 1 Filed 01/21/19 Page 9 of 13 Page ID #:9



 1 Services, Inc. 191 F. Supp. 2d 1031 (W.D. Wis. 2002). All four of these injuries are
 2 concrete and de facto.
 3           45.    For an injury to be “particularized” means that the injury must “affect
 4 the plaintiff in a personal and individual way.” Spokeo, Inc. v. Robins 578 ____(2016)
 5 at 7. It was Plaintiff’s personal privacy and peace of mind that were invaded by WEST
 6 COAST’S persistent phone calls. All of these injuries are particularized and specific
 7 to Plaintiff.
 8                 B.    The “Traceable to the Conduct of Defendant” Prong
 9           46.    The second prong required to establish standing at the pleadings phase
10 is that Plaintiff must allege facts to show that Plaintiff’s injury is traceable to the
11 conduct of WEST COAST.
12           47.    In the instant case, this prong is met simply by the fact that the calls to
13 Plaintiff’s cellular phone were placed by WEST COAST directly.
14                 C.    The “Injury is Likely to be Redressed by a Favorable Judicial
15                 Opinion” Prong
16           48.    The third prong to establish standing at the pleadings phase requires
17 Plaintiff to allege facts to show that the injury is likely to be redressed by a favorable
18 judicial opinion.
19           49.    In the present case, Plaintiff’s Prayers for Relief include a request for
20 damages for each call made by WEST COAST after WEST COAST received notice
21 that Plaintiff was represented by Counsel on or about September 21, 2018, as
22 authorized by statute in 15 U.S.C. § 1692k(a)(2)(A). The statutory damages were set
23 by Congress and specifically redress the financial damages suffered by Plaintiff.
24           50.    Furthermore, Plaintiff’s Prayers for relief request an award of actual
25 damages to redress the injuries of the past, including emotional distress, and an award
26 of attorney’s fees and costs for the actual damages that Plaintiff has had to expend as
27 a direct result of WEST COAST’S violations of the FDCPA.
28           51.    Because all standing requirements of the Article III of the U.S.
                                                 9     Lindsay v. West Coast Capital Group, et al
                                             COMPLAINT
Case 8:19-cv-00100-AG-JDE Document 1 Filed 01/21/19 Page 10 of 13 Page ID #:10



 1 Constitution have been met, as laid out in Spokeo, Inc. v. Robins, 578 U.S. ____(2016),
 2 Plaintiff has standing to sue WEST COAST on the stated claims.
 3                VII. CAUSE OF ACTION CLAIMED BY PLAINTIFF
 4                                        COUNT 1
 5      VIOLATION OF THE FAIR DEBT COLLECTION PRACTICES ACT
 6                          15 U.S.C. §§ 1692-1692(p) (FDCPA)
 7                           [AGAINST ALL DEFENDANTS]
 8          52.    Plaintiff incorporates by reference all of the above paragraphs of this
 9 Complaint as though fully stated herein.
10          53.    The Plaintiff is a natural person obligated to pay a debt, and thus is a
11 “consumer” within the meaning of the FDCPA, 15 U.S.C. § 1692a(3) and also by
12 California Civil Code §1785.3(b).
13          54.    The property is Plaintiff’s primary residence, and the proceeds of the
14 debt were used for personal, family and household purposes. As such, the debt is a
15 consumer “debt” within the meaning of the FDCPA, 15 U.S.C. § 1692a(5).
16          55.    At all relevant times herein, WEST COAST is a “creditor” of a “debt”
17 alleged to be due or owing from a natural person by reason of a consumer credit
18 transaction, as those terms are defined by 15 U.S.C. §§ 1692a(4)-(5).
19          56.    At all relevant times herein, WEST COAST, in the ordinary course of
20 business, regularly, and on behalf of themselves or others, engaged in “debt
21 collection” as that term is defined by California Civil Code § 1788.2(b), and is
22 therefore a “debt collector” as that term is defined by California Civil Code §
23 1788.2(c), and by 15 U.S.C. § 1692a(6).
24          57.    The actions of WEST COAST in contacting a consumer known to
25 be represented by an attorney is an unlawful and abusive attempt to collect a
26 debt. WEST COAST’S communications with Plaintiff’s attorney by email on
27 October 4, 2018 demonstrates that WEST COAST knew and had knowledge that
28 Plaintiff was represented by an attorney as of September 21, 2018. In spite of this
                                               10    Lindsay v. West Coast Capital Group, et al
                                           COMPLAINT
Case 8:19-cv-00100-AG-JDE Document 1 Filed 01/21/19 Page 11 of 13 Page ID #:11



 1 knowledge, Defendant WEST COAST continued to contact Plaintiff, including,
 2 but not limited to, calling Plaintiff on his cellular phone after receiving notice
 3 and having knowledge that the Plaintiff is represented by an attorney, which
 4 constitutes a violation of 15 U.S.C. § 1692c(a)(2), which is incorporated into the
 5 Rosenthal Fair Debt Collection Practices Act (“RFDCPA”) through Cal. Civ. Code §
 6 1788.17. Thus, Defendant has violated 15 U.S.C. § 1692c(a)(2), and has also
 7 violated Cal. Civ. Code § 1788.17.
 8           58.   These telephonic communications from WEST COAST constitute an
 9 attempt to collect Plaintiff’s debt.       These telephonic communications are an
10 instrumentality of interstate commerce being used for the purpose of the collection of
11 debts, and constitute “debt collection” by a “debt collector” as that phrase is defined
12 by Cal. Civ. Code § 1788.2(b) and 15 U.S.C. § 1692a(6).
13           59.   Despite receiving the November 23, 2018 cease and desist letter from
14 Plaintiff’s Counsel, Lexicon Law PC, WEST COAST continued to contact Plaintiff
15 with regard to and for the purpose of collecting Plaintiff’s alleged debt, including, but
16 not limited to, calling Plaintiff on his cellular phone on November 26, 2018. In that
17 phone call, WEST COAST stated that it had received the cease and desist letter, knew
18 Plaintiff was represented by an attorney, and that it had been in contact with the
19 attorney. Such contact after a cease and desist letter was received constitutes a
20 violation of 15 U.S.C. § 1692c(c), and also constitutes a violation of Cal. Civ. Code §
21 1788.14(c). Thus, WEST COAST has violated 15 U.S.C. § 1692c(c), and Cal. Civ.
22 Code § 1788.14(c).
23           60.   As a result of WEST COAST’S violations, Plaintiff has suffered actual
24 damages in that Plaintiff has had to consult with his attorney regarding WEST
25 COAST’s violations, and has had to expend legal fees and costs to respond to WEST
26 COASTS’S violations. Plaintiff has suffered an invasion of his privacy and as a direct
27 result of WEST COASTS’S violations, Plaintiff has also suffered emotional distress
28 and anxiety from WEST COAST’S harassing attempts to unlawfully collect a debt by
                                               11    Lindsay v. West Coast Capital Group, et al
                                           COMPLAINT
Case 8:19-cv-00100-AG-JDE Document 1 Filed 01/21/19 Page 12 of 13 Page ID #:12



 1 contacting him on his cellular phone after WEST COAST knew and received notice
 2 that he was represented by an attorney as of September 21, 2018, and after receiving
 3 a cease and desist letter from Plaintiff’s attorney on November 23, 2018. In fact,
 4 WEST COAST acknowledged that it had received the cease and desist letter during
 5 the phone call with Plaintiff on November 26,2018.
 6           61.   As a result of each and every violation of the FDCPA, Plaintiff is
 7 entitled to any actual damages pursuant to 15 U.S.C. § 1692k(a)(1); statutory
 8 damages for a knowing or willful violation in the amount up to $1,000.00 pursuant to
 9 15 U.S.C. § 1692k(a)(2)(A); and reasonable attorney’s fees and costs pursuant to 15
10 U.S.C. § 1692k(a)(3) from each Defendant individually.
11                             VIII. PRAYER FOR RELIEF
12 WHEREFORE, Plaintiff prays that judgment be entered against Defendant for:
13         An award of actual damages, including for emotional distress, in an amount
14           to be determined at trial, pursuant to 15 U.S.C. § 1692k(a)(1), against
15           Defendant;
16         An award of statutory damages of $1,000.00, pursuant to 15 U.S.C. §
17           1692k(a)(2)(A), against Defendant, for each violation;
18         An award of costs of litigation and reasonable attorney’s fees, pursuant to 15
19           U.S.C. § 1692k(a)(3), against Defendant;
20         Any and all other relief the Court deems just and proper.
21         In the event of a default, Plaintiff claims $14,000.00 in damages (including
22           $4,000.00 in statutory damages, $1,000.00 per violation; and $10,000.00 for
23           emotional distress).
24                                  IX TRIAL BY JURY
25           62.   Pursuant to the seventh amendment to the Constitution of the United
26 States of America, Plaintiff is entitled to, and demands, a trial by jury.
27           63.   Pursuant to Federal Rule of Civil Procedure 38 and 39, Plaintiffs
28 hereby requests the maximum number of jurors permitted by law.
                                               12    Lindsay v. West Coast Capital Group, et al
                                            COMPLAINT
Case 8:19-cv-00100-AG-JDE Document 1 Filed 01/21/19 Page 13 of 13 Page ID #:13


      Dated:     January 21, 2019        Respectfully submitted,
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 4                                       By: /s/ Tiffany N. Buda
                                           TIFFANY N. BUDA
 5                                         Attorney for Plaintiff
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                                          13    Lindsay v. West Coast Capital Group, et al
                                       COMPLAINT
